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                                         September 27, 2023
The United States District Court
1100 Commerce Street, Room 1452
Dallas, Texas 75242

        RE: Request for DMCA Subpoena pursuant to 17 U.S.C. §512(h)

Dear Ms. Mitchell,

The undersigned firm represents Nexon Korea Corporation (“Nexon” or the “Copyright Owner”),
the developer of the MapleStory, MapleStory2, Sudden Attack, The Kingdom of the Winds,
Dungeon & Fighter, Grand Chase, and Elsword video games. On behalf of Nexon, I respectfully
request that the Clerk issue a subpoena pursuant to 17 U.S.C. § 512(h).

By way of background, Section 512(h) of the Digital Millennium Copyright Act provides that a
“copyright owner or a person authorized to act on the owner’s behalf may request the clerk of any
United States District Court to issue a subpoena to a service provider for identification of an alleged
infringer in accordance with this subsection.” 17 U.S.C. § 512(h)(1). For a subpoena to be issued,
Section 512(h) requires that a copyright owner file the following with the Clerk:
            1. A copy of the DMCA takedown notification required by Section 512(c)(3)(A);
            2. A proposed subpoena; and
            3. A sworn declaration to the effect that the purpose for which the subpoena is sought
            is to obtain the identity of an alleged infringer and that such information will only be
            used     for    the     purpose     of    protecting    rights     under      this    title.

Accordingly, attached for filing with the Clerk is Nexon’s notification, a proposed subpoena, and
a sworn declaration. As Nexon has complied with the requirements of the statute, they ask that the
Clerk expeditiously issue a subpoena ordering Discord to disclose Nexon information sufficient to
identify the infringers, including the individuals’ names, physical addresses, IP addresses,
telephone numbers, email addresses, payment information, account updates and account history,
as     available,    within     14     days    of     the    issuance      of    the    subpoena.

If you have any questions or concerns, please feel free to contact me via email at
dwilliams@sulleelaw.com, via telephone at 214-206-4064, or via mail at 3030 Lyndon B. Johnson
Fwy, Suite 220, Dallas, Texas 75234.

We appreciate your attention to this matter and await your response.

                                                        Sincerely,
                                                        /s/ Dominique Williams
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                                     Dominique Williams
                                     SUL LEE LAW FIRM, PLLC
                                     Associate Attorney
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                     Northern District
                                                      __________       of Texas
                                                                    District of __________
   In re DMCA Section 512(h) Subpoena to Discord
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 3:23-mc-00061
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                               Discord, Inc. c/o CT Corporation System, 330 N. Brand Blvd, Suite 700
                                                         Glendale, California 91203
                                                       (Name of person to whom this subpoena is directed)

       ✔
       ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Exhibit A



  Place: Sul Lee Law Firm, PLLC                                                         Date and Time:
           3030 Lyndon B Johnson Fwy, Suite 220                                                             09/27/2023 12:00 am
           Dallas, Texas 75234

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        09/27/2023

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party) Sul Lee Law Firm
3030 LBJ Fwy., Suite 220, Dallas, TX 75234 (214) 206-4064                , who issues or requests this subpoena, are:
Sul Lee, sul@sulleelaw.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 3:23-mc-00061

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                  EXHIBIT A
                           REQUEST FOR PRODUCTION
1. Produce all information sufficient to identify the operator and/or owner (the “Infringers”)
   of each of the servers who uploaded, hosted, and/or contracted with other providers to host
   the infringing content identified in the Exhibits attached to the DMCA Takedown NCotice
   dated September 20, 2023, sent by Mr. Sungchul Hwang on behalf of Nexon Korea
   Corporation (“Nexon”), requesting takedown of infringing MapleStory, MapleStory 2, The
   Kingdom of the Wings, Dungeon & Fighter, Grand Chase, and Elsword material (the
   “Copyrighted Material”) attached to this subpoena, from any and all sources, including but
   not limited to, billing or administrative records that prove the following information used
   by each of the Infringers, along with a time-stamp, from the time of user registration and
   to date: (a) name(s), (b) last known address(es), (c) last known telephone number(s), (d)
   any and all email address(es), (e) account number(s), and (f) billing information (including,
   but not limited to, names, telephone number(s), and mailing and billing address(es) of each
   of all of the payment methods (including, but not limited to, credit cards, bank accounts,
   and any online payment systems)); (g) hosting provider(s), (h) server(s), (i) any other
   contact information; and (j) any and all logs of IP address(es).
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Date: Sep. 20th, 2023


To Copyright Agent:


This notice is submitted by DAZIUNDA, LLC, on behalf of NEXON Korea. (“Copyright Owner”),
pursuant to the Digital Millennium Copyright Act (the “Act”) and Discord’s Terms of Service.


The Copyright Owner possesses the exclusive rights to the copyrighted work (the “Work”)
identified below:


    1. Title of the Work: MapleStory
         A.   Official Website: https://maplestory.nexon.com/
         B.   Description of the Work: MapleStory(Korean: 메이플스토리) is a 2D side-scrolling
              massively multiplayer online role-playing game developed and serviced by NEXON
              Korea.
    2. Title of the Work: MapleStory2
         A.   Official Website: https://maplestory2.nexon.com/
         B.   Description of the Work: MapleStory2(Korean: 메이플스토리2) is 3D massively
              multiplayer online role-playing game developed and serviced by NEXON Korea.
    3. Title of the Work: Sudden Attack
         A.   Official Website: https://sa.nexon.com/
         B.   Description of the Work: Sudden Attack(Korean: 서든어택) is a free-to-play
              multiplayer first-person shooter online game serviced by NEXON Korea
    4. Title of the Work: The Kingdom of the winds
         A.   Official Website: https://baram.nexon.com/
         B.   Description of the Work: The Kingdom of the winds(Korean: 바람의 나라) ) is a 2D
              massively multiplayer online role-playing game developed and serviced by NEXON
              Korea.
    5. Title of the Work: Dungeon & Fighter
         A.   Official Website: https://df.nexon.com/
         B.   Description of the Work: Dungeon & Fighter(Korean: 던전앤파이터) is a 2D side-
              scrolling massively multiplayer online role-playing game serviced by NEXON Korea
    6. Title of the Work: Grand Chase
         A.   Official Website: https://grandchase.nexon.com/
         B.   Description of the Work: Grand Chase(Korean: 그랜드체이스) is 3D side-scrolling
              massively multiplayer online role-playing game serviced by NEXON Korea
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    7. Title of the Work: Elsword
           A.      Official Website: https://elsword.nexon.com/
           B.      Description of the Work: Elsword(Korean: 엘소드) is 3D side-scrolling massively
                   multiplayer online role-playing game serviced by NEXON Korea


We have discovered that private servers, private server promoters, designers associated with
private servers and cheat software sellers infringing upon the rights of the Copyright Owner, have
been set up on Discord for illicit commercial activities, actively recruiting users.


This DMCA Notice has been written to request the immediate blockage of their servers, channels,
and any IDs involved in the copyright infringement.


Please find below a detailed description of how each copyright infringer utilizes Discord for their
infringing activities.




                                                  I. Private Server


    1. Circumventing the technological protective measures applied to the online game client
          developed and serviced by the Copyright Owner.
           A.      Analyzing server-client communications through reverse engineering and developing
                   server emulators imitating the server software developed by the Copyright Owner.
           B.      Modifying the game client to connect to their server emulator IP.
    2.     Providing services related to the Work without lawful permission.
           A.      Establishing accounts and servers on various OSPs, including Discord, to offer Work-
                   related services for profit.
                  i.   Building websites.
                 ii.   Creating Discord IDs, servers, and channels.
                iii.   Establishing Facebook pages and groups.
           B.      Distributing the game client link modified as per section 1B on various OSPs
                   including Discord.
           C.      Directing users to connect to their private servers through the client mentioned in
                   section 2B.
    3.     Engaging in illicit commercial activities without the permission of the Copyright Owner.
           A.      Setting up various payment methods like PayPal, Paymentwall, and bank accounts.
           B.      Creating various in-game items on the altered client as per section 1 and promoting
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         them through various OSPs established in section 2.
    C.   Guiding users through Discord IDs to payment methods, selling in-game items
         through conversations, and obtaining illegal profits.




                               II. Private Server Promoter


1. Creation of a Discord server specifically for promoting private servers.
2. Dissemination of invitation links to private server operators and users.
3. Informing private server operators about server promotion costs via Discord DMs.
4. Granting special roles within the Discord server to private server operators who have paid
   the promotion fees.
5. Establishing a channel named after the private server for promotional purposes and
   granting administrative privileges to the operators.




                     III. Designers associated with Private Servers


1. Creation of a Discord server to provide design works to private server operators and
   receive compensation in return
2. Setting up channels within the server to post design portfolios.
3. Sharing the Discord server invitation link with private server operators and encouraging
   them to join.
4. Informing the joined private server operators about the time and cost per design work
   via DMs, thus gaining financial benefits.
5. Producing image files using illustrations, character images, and other copyrighted
   materials from the Work, and then sending them to private server operators via DM.




                                IV. Cheat software sellers


1. Development of a Cheat software that disables the technical protection measures applied
   to the Work and allows for actions not permitted within the game.
2. Creation of a Discord server and promotion of invitation codes to users of the Work.
3. Establishment of channels specific to each Cheat software, posting descriptions of the
   software's functionalities and prices.
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    4. Selling serial numbers of the Cheat software to purchasers via DMs, thus obtaining
        financial gains.


As illustrated, those involved in various forms of copyright infringement are using Discord services
to maximize their illegal gains. For effective prevention of their infringing activities, immediate
blocking of the Discord servers mentioned in this document is imperative.


It is important to note that simply deleting the message links cited as examples might not fully
address the issue. These are instances of copyright infringement on Discord servers. To ensure
comprehensive resolution, considering the blocking of both servers and the IDs of infringers might
be beneficial. This can prevent continued infringing activities and protect the interests of all
involved parties.


Exhibits attached to this document provide the server IDs of each Discord Server, UIDs of the
infringers, and example message links demonstrating the infringing activities, as elaborated upon
for each infringer.


I hereby state, under penalty of perjury, that the information contained in this Notice is accurate
and that I am the authorized agent acting on behalf of the Copyright Owner. I have a good faith
belief that the use of the Work described above, and used in the manner complained of, is not
authorized by the Copyright Owner, its agent, or under the law.


We trust you will understand our concerns and, as stipulated in Sections 512(c)(1)(C) and 512(d)(3)
of the Act and in accordance with Discord’s own Terms of Service, we demand the immediate
blocking of the Discord servers used for copyright infringement.


Please contact the undersigned no later than one week from the date of this letter to confirm
that the infringing materials have been removed or access disabled. The undersigned may be
contacted at the email address set forth as follows:
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       Name and Title: Sungchul Hwang, Technician
       Company: DAZIUNDA, LLC.
       Address: 675 Dalseo-daero, Dalseo-gu, Daegu, 42601, Republic of Korea
       Email address: shiraz@daziunda.com
       Telephone: +82-10-6514-1723


                                                                   Truthfully




                                                             Sungchul Hwang
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                                                                          Exhibits – Private Server
1. Infringed Work – MapleStory
    Server Name             Category                                                                  Description
                     Website (if applicable)   https://mapleroyal.cc/
                     Discord Server ID         964822228724244530
                     Infringer UID             871229837380034601, 761916413912678450
     로얄메이플
                     Invite Code               https://discord.com/invite/royalmaple
                     Example message link      https://discord.com/channels/964822228724244530/979575719195705354/1126625454321848472
                     of infringing activity
                     Website (if applicable)
                     Discord Server ID         1131827395104616561
                     Infringer UID             1125676006502584330
     나나스토리
                     Invite Code               https://discord.com/invite/cFvMbhfVq4
                     Example message link      https://discord.com/channels/1131827395104616561/1131851269758255155/1134363931884920892
                     of infringing activity
                     Website (if applicable)
                     Discord Server ID         1109426846015164416
                     Infringer UID             1033704371348852848, 1024368046116188180, 331724026877837312, 434092344581816330, 107495484037300224
      니르바나
                     Invite Code               https://discord.com/invite/jYbEN3JMeP
                     Example message link      https://discord.com/channels/1109426846015164416/1109428605487956069/1115952924128976947
                     of infringing activity
                     Website (if applicable)
                     Discord Server ID         1054360713407254558
                     Infringer UID             1054358551482613790
      달빛월드
                     Invite Code               https://discord.com/invite/Mq2mea9zT9
                     Example message link      https://discord.com/channels/1054360713407254558/1054489845730381965/1134383159706910772
                     of infringing activity
                     Website (if applicable)
       더블랙           Discord Server ID         1118884714950971495
                     Infringer UID             1118883355841282160, 633579801436880916
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       Invite Code               https://discord.com/invite/ux7BhGTD9q
       Example message link      https://discord.com/channels/1118884714950971495/1118963200419971102/1135241310958276718
       of infringing activity
       Website (if applicable)
       Discord Server ID         1042506166854492290
       Infringer UID             1040367342535843851, 1130876720757604413
마르디아
       Invite Code               https://discord.com/invite/43HS4fTHux
       Example message link      https://discord.com/channels/1042506166854492290/1042510622916628480/1130881472073576538
       of infringing activity
       Website (if applicable)
       Discord Server ID         1105271478150234244
       Infringer UID             1050764025060937728, 804158172494561290
메리엘
       Invite Code               https://discord.com/invite/hmXVFR9vVQ
       Example message link      https://discord.com/channels/1105271478150234244/1105282759221587968/1124869027102212096
       of infringing activity
       Website (if applicable)
       Discord Server ID         1127549167129079820
       Infringer UID             1126866085472387082
보헤미안
       Invite Code               https://discord.com/invite/cze8juG9kp
       Example message link      https://discord.com/channels/1127549167129079820/1132261952828223550/1132594764378808432
       of infringing activity
       Website (if applicable)
       Discord Server ID         1101439954728530031
       Infringer UID             1100012824547303445
아리엘
       Invite Code               https://discord.com/invite/keqATsH4sa
       Example message link      https://discord.com/channels/1101439954728530031/1103877058469298279/1103877092535451694
       of infringing activity
       Website (if applicable)
엘니도    Discord Server ID         1026870545410707517
       Infringer UID             947243390951637052, 1038481360974794882, 409258554940456971
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       Invite Code               https://discord.com/invite/AF2qUSRMGC
       Example message link      https://discord.com/channels/1026870545410707517/1126894943915495576/1141314150337871872
       of infringing activity
       Website (if applicable)
       Discord Server ID         1020904508924121118
       Infringer UID             878319845228302368, 475653539637493760, 1114199652728836237, 391088733476093952
엘리시아
       Invite Code               https://discord.com/invite/3RfQKzvgnD
       Example message link      https://discord.com/channels/1020904508924121118/1118879349211414558/1118879349211414558
       of infringing activity
       Website (if applicable)
       Discord Server ID         1032262304387059754
       Infringer UID             311386662015860736
엘리트
       Invite Code               https://discord.com/invite/sWSnfG5PxX
       Example message link      https://discord.com/channels/1032262304387059754/1117670153774170203/1138489999008993370
       of infringing activity
       Website (if applicable)
       Discord Server ID         1030748025611632650
       Infringer UID             910985312535195728, 1029084097835958373, 1027803455361921078, 1035222721774235698
 연화
       Invite Code               https://discord.com/invite/YEONHWA
       Example message link      https://discord.com/channels/1030748025611632650/1118186021507567696/1118186021507567696
       of infringing activity
       Website (if applicable)
       Discord Server ID         1128292662034825288
       Infringer UID             947979138667540511
오리진
       Invite Code               https://discord.com/invite/HHYDzTb3JF
       Example message link      https://discord.com/channels/1128292662034825288/1138728294406180875/1138728698900643840
       of infringing activity
       Website (if applicable)
 추억    Discord Server ID         1094653302555295904
       Infringer UID             1094651229411495977
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          Invite Code               https://discord.com/invite/yRFWcvAwhN
          Example message link      https://discord.com/channels/1094653302555295904/1094662279934517358/1118383072518344854
          of infringing activity
          Website (if applicable)
          Discord Server ID         1042521202217984090
          Infringer UID             380220821630877697, 1044161576246194227
  헤븐
          Invite Code               https://discord.com/invite/vDfpRsMryS
          Example message link
          of infringing activity
          Website (if applicable)
          Discord Server ID         1145419190828810430
          Infringer UID             1089508646666391564
  베리즈
          Invite Code               https://discord.com/invite/HwcQ2zMHnJ
          Example message link      https://discord.com/channels/1145419190828810430/1145420195842773053/1148961645276704828
          of infringing activity
          Website (if applicable)
          Discord Server ID         1145316604792557668
          Infringer UID             1145315916473696357
 나노메이플
          Invite Code               https://discord.gg/FXxyQC6uxJ
          Example message link      https://discord.com/channels/1145316604792557668/1145320257200848936/1146038906043781230
          of infringing activity
          Website (if applicable)
          Discord Server ID         1112739691582738484
          Infringer UID             1093356432646209556
클래스리마스터
          Invite Code               https://discord.com/invite/ECVebcpSQ
          Example message link      https://discord.com/channels/1112739691582738484/1112743265159086101/1129223438410715256
          of infringing activity
          Website (if applicable)
  파스텔     Discord Server ID         1043088654215680080
          Infringer UID             1042794887088713742
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               Invite Code               https://discord.com/invite/pR4sSaFCk9
               Example message link      https://discord.com/channels/1043088654215680080/1043089950154952704/1043835143237935114
               of infringing activity
               Website (if applicable)
               Discord Server ID         1074227978436878339
               Infringer UID             1064176770401701928
  일리시움
               Invite Code               https://discord.com/invite/QCz2hQTbAb
               Example message link      https://discord.com/channels/1074227978436878339/1074232457148235886/1074232457148235886
               of infringing activity
               Website (if applicable)   https://mapleroyals.com/
               Discord Server ID         1008174423846686801
               Infringer UID             193812754748932097, 234419725264748545, 363925896542945281, 643637551521071104, 523378611504545802,
MapleRoyals                              192326524605693953, 661979159005757441, 306742152057192448, 124900571210579968
               Invite Code               https://discord.com/invite/MzVfDU5PTP
               Example message link      https://discord.com/channels/1008174423846686801/1008469418227019786/1113820806166876220
               of infringing activity
               Website (if applicable)   https://maplelegends.com/
               Discord Server ID         969341430596239420
               Infringer UID             209979685793169409, 471028041884106755, 145991605294202881, 480184783540977684, 187213676007129089,
MapleLegends                             484072796184510464, 266106931414958081
               Invite Code               https://discord.com/invite/MapleLegends
               Example message link      https://discord.com/channels/969341430596239420/969404011407110164/971458813465067620
               of infringing activity
               Website (if applicable)   https://kaizenms.net/
               Discord Server ID         1089434657877151798
               Infringer UID             384136868922392577, 916420967662760037, 681977430436741150
 Kaizen MS
               Invite Code               https://discord.com/invite/VnbfEmfSKv
               Example message link      https://discord.com/channels/1089434657877151798/1089476204404420618/1093829107357335593
               of infringing activity
  AriesMS      Website (if applicable)   https://aries.elluel.net/
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                Discord Server ID         983558194771136522
                Infringer UID             954639290955100171, 112048536610230272, 905369471399641099, 709246694587629619, 1062662917637558322
                Invite Code               https://discord.com/invite/yfZaUDN9QX
                Example message link      https://aries.elluel.net/?page=download
                of infringing activity    Unable to find the message link, so the download URL from the website is indicated.
                Website (if applicable)   https://maplesaga.com/
                Discord Server ID         1100932401636585583
                Infringer UID             1100931593956241429
 MapleSaga
                Invite Code               https://discord.com/invite/t6wCKkWA
                Example message link      https://discord.com/channels/1100932401636585583/1122357173922574368/1122357214800269393
                of infringing activity
                Website (if applicable)   https://dreamms.gg/
                Discord Server ID         920833230704361483
                Infringer UID             509461724613705747, 376239020427968523, 101832932653531136, 219415732075626497, 1101038194893520946,
  DreamMS                                 346764205195526145
                Invite Code               https://discord.com/invite/dreamms
                Example message link      https://discord.com/channels/920833230704361483/1019902532438462504/1084191032138276894
                of infringing activity
                Website (if applicable)   https://amoria.ms/
                Discord Server ID         1027016983524425768
                Infringer UID             1006311848091603115, 326979713245642754, 163332777352101889
 AmoriaMS
                Invite Code               https://discord.com/invite/PyJ5xg2mNh
                Example message link      https://discord.com/channels/1027016983524425768/1116978163621310536/1117174718479474788
                of infringing activity
                Website (if applicable)
                Discord Server ID         952846286304972820
                Infringer UID             424940638870568966, 799590952972451860, 953226673455763526
Maple Lumiere
                Invite Code               https://discord.com/invite/EPs8TbaSDJ
                Example message link      https://discord.com/channels/952846286304972820/952863823046508555/1109560432580100116
                of infringing activity
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                     Website (if applicable)   https://maplelumiere.com/
                     Discord Server ID         966282526979137566
                     Infringer UID             893942580415447051, 761959531763859477
      Haiku MS
                     Invite Code               https://discord.com/invite/haikums
                     Example message link      https://discord.com/channels/966282526979137566/996726878754852874/1138711690494623834
                     of infringing activity


2. Infringed Work – MapleStory2
    Server Name             Category                                                                Description
                     Website (if applicable)   https://maplestars2.to/
                     Discord Server ID         992025420738342922
                     Infringer UID             989125239508193290, 1028678364959101000, 988446898933358603
     MapleStars2
                     Invite Code               https://discord.com/invite/hwZ99PzH23
                     Example message link      https://discord.com/channels/992025420738342922/992028695625728131/1145420727403696309
                     of infringing activity


3. Infringed Work – The Kingdom of the winds
    Server Name             Category                                                                Description
                     Website (if applicable)   https://baramyeon.com/
                     Discord Server ID         919185316450025472
                     Infringer UID             919192763701002310, 502350931459964929
       곰서버
                     Invite Code               https://discord.com/invite/rppSeR7j7U
                     Example message link      https://discord.com/channels/919185316450025472/919185316450025475/1147857978742018118
                     of infringing activity
                     Website (if applicable)   https://baram2006.com/

                     Discord Server ID         1097098377612767302
                     Infringer UID             711211501536673834
      도톨서버
                     Invite Code               https://discord.com/invite/CKwRD2FTdU
                     Example message link      https://discord.com/channels/1097098377612767302/1097098377612767308/1097104048718630972
                     of infringing activity
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          Website (if applicable)
          Discord Server ID         1130783690486726698
          Infringer UID             463880315308343296
로얄클래스
          Invite Code               https://discord.com/invite/xMXVg6GrrE
          Example message link      https://discord.com/channels/1130783690486726698/1146704131558494258/1146705497274196048
          of infringing activity
          Website (if applicable)
          Discord Server ID         971042214505500733
          Infringer UID             287481919736643584
레어서버
          Invite Code               https://discord.com/invite/9nSJGqJVBv
          Example message link      https://discord.com/channels/971042214505500733/1008678934604415016/1145720824314220644
          of infringing activity
          Website (if applicable)   https://baramrema.com/

          Discord Server ID         1101069480173502515
          Infringer UID             899496219963977779
리마스터
          Invite Code               https://discord.com/invite/kmnr6uBUhy
          Example message link      https://discord.com/channels/1101069480173502515/1109103076230574081/1138674144343511052
          of infringing activity
          Website (if applicable)
          Discord Server ID         979000977308938251
          Infringer UID             459600042035118081
  목도
          Invite Code               https://discord.com/invite/Ut4Ndh8hkR
          Example message link      https://discord.com/channels/979000977308938251/979000977875152957/1095178394985058364
          of infringing activity
          Website (if applicable)   https://boolhong.com/
                                    https://dossisword.com/
          Discord Server ID         1116334541536247849
          Infringer UID             1139798024709754910
도씨검(불홍)
          Invite Code               https://discord.com/invite/wdDP6rsyQT
          Example message link      https://discord.com/channels/1116334541536247849/1139800371934535681/1142911958908162199
          of infringing activity
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                     Website (if applicable)
                     Discord Server ID          819592720284647445
                     Infringer UID              810792314578534420, 371269483907514380
        서월
                     Invite Code                https://discord.com/invite/B4FTb9TfHw
                     Example message link       https://discord.com/channels/819592720284647445/819593028729307176/1081046740582539324
                     of infringing activity
                     Website (if applicable)
                     Discord Server ID          1105760887614226482
                     Infringer UID              946978171197222913
         설
                     Invite Code                https://discord.com/invite/CvKAD9ZPp4
                     Example message link       https://discord.com/channels/1105760887614226482/1106078004536426566/1106078250284884048
                     of infringing activity
                     Website (if applicable)
                     Discord Server ID          1124815716252655767
                     Infringer UID              1124812190382305300
        여울
                     Invite Code                https://discord.com/invite/kwCVNWQaKx
                     Example message link       https://discord.com/channels/1124815716252655767/1124818435906474024/1132280809261367366
                     of infringing activity
                     Website (if applicable)    https://baramhyangky.com/

                     Discord Server ID          1129281116394770512
                     Infringer UID              1129279878940864563
        향기
                     Invite Code                https://discord.com/invite/GUkzgDh9af
                     Example message link       https://discord.com/channels/1129281116394770512/1129313725900410900/1147857191756370041
                     of infringing activity


4. Infringed Work – Dungeon & Fighter
     Server Name              Category                                                                Description
                      Website (if applicable)
       고고서버           Discord Server ID          1056887838811095070
                      Infringer UID              1009794772090757150, 578585678032666635
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             Invite Code               https://discord.com/invite/dnfgogoserver
             Example message link      https://discord.com/channels/1056887838811095070/1056887839331188762/1147116321885138985
             of infringing activity
             Website (if applicable)
             Discord Server ID         998261617122877450
             Infringer UID             996087515750608906
  다마고치
             Invite Code               https://discord.gg/pEF84DQYxG
             Example message link      https://discord.com/channels/998261617122877450/1131361225238904923/1131361283627831508
             of infringing activity
             Website (if applicable)
             Discord Server ID         1013044686178500658
             Infringer UID             996087515750608906
다마고치파일설치서버
             Invite Code               https://discord.gg/4Xu7P4bE6q
             Example message link      https://discord.com/channels/1013044686178500658/1013103008042725438/1125126609343615118
             of infringing activity
             Website (if applicable)
             Discord Server ID         1009315858583146506
             Infringer UID             849188971358453790, 298787494852427776, 699204770430451813
  솔로서버
             Invite Code               https://discord.com/invite/azdh2AJcef
             Example message link      https://discord.com/channels/1009315858583146506/1009317468562542612/1012628878897991680
             of infringing activity
             Website (if applicable)
             Discord Server ID         1126488573412130828
             Infringer UID             1126488091742453780
  스톤서버
             Invite Code               https://discord.com/invite/cZBHU4XJ4Y
             Example message link      https://discord.com/channels/1126488573412130828/1131390156285427863/1131390212711391232
             of infringing activity
             Website (if applicable)
  투데이서버      Discord Server ID         1055673919102791730
             Infringer UID             1055672024204324884, 652516091179827221
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                      Invite Code               https://discord.com/invite/gkeZQFkjp4
                      Example message link      https://discord.com/channels/1055673919102791730/1055717828159877141/1055718986840551434
                      of infringing activity




5. Infringed Work – Grand Chase
     Server Name             Category                                                                Description
                      Website (if applicable)   https://agnesia.xyz/

                      Discord Server ID         801129191016890369
                      Infringer UID             94888096872534016, 744975698094981241, 986602882243645450
    Agnesia Online
                      Invite Code               https://discord.com/invite/s9ZdYjYu4K
                      Example message link      https://discord.com/channels/801129191016890369/988141631721078784/1064180269373997086
                      of infringing activity
                      Website (if applicable)
                      Discord Server ID         1029984952021946378
                      Infringer UID             335801526993944586, 1034629091661463603, 1130629509452922932
     Unreal World
                      Invite Code               n/a
                      Example message link      https://discord.com/channels/1029984952021946378/1029990075364282389/1129117781976166430
                      of infringing activity
                      Website (if applicable)   https://ernasis.xyz/
                      Discord Server ID         285041318097453066
                      Infringer UID             228275969583087618, 252570710537535489, 164499007245123584, 962467635444985877
     Ernasis Online
                      Invite Code               https://discord.com/invite/r7bhnwNH4S
                      Example message link      https://discord.com/channels/285041318097453066/454796689186881536/1128814644765655161
                      of infringing activity
                      Website (if applicable)   https://chasefantasy.com.br/
                      Discord Server ID         916140140689231872
     Chase Fantasy    Infringer UID             252617685668462602, 905612017707126796
                      Invite Code               https://discord.com/invite/utqfZHnfEj
                      Example message link      https://discord.com/channels/916140140689231872/916719544603656222/943696202778681344
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                       of infringing activity
                       Website (if applicable)   https://chasehistory.net/
                       Discord Server ID         930958255637790770
                       Infringer UID             524650465363755041, 417470929325522945, 262695247102869531, 643276841708421153, 243303438656471040,
                                                 334871888645980160, 183285042527600640, 246451871051415554, 592451854529593582, 407892854363521024,
                                                 452710782552113152, 517657460321026058, 158243227953135617, 282354606225358848, 338594696320516098,
     Chase History
                                                 282563385994903553, 870447161043730432, 256208300633358336, 262614246167150602, 662160822008807443,
                                                 614971797108031508, 206420067297132544, 334871888645980160, 341996795838201867, 252452032399540225
                       Invite Code               https://discord.com/invite/5KBXACWFjz
                       Example message link      https://discord.com/channels/930958255637790770/931247448725270538/935523440310493204
                       of infringing activity


5. Infringed Work – Elsword
     Server Name              Category                                                                Description
                       Website (if applicable)   https://elszero.net/
                       Discord Server ID         905611290314174524
                       Infringer UID             254701061602803723, 661957278051860508, 340784038036111361, 163051261678059520, 242694370795454467,
        ElsZero                                  173551678329454593, 560939942411501575, 167680707072753664
                       Invite Code               https://discord.com/invite/sEg7RCT2n8
                       Example message link      https://discord.com/channels/905611290314174524/905616521152331816/930665176292786177
                       of infringing activity
                       Website (if applicable)
                       Discord Server ID         1040290955330326528
                       Infringer UID             163051261678059520, 104702718974685184, 340784038036111361, 173551678329454593, 254701061602803723,
        ElRosso                                  711197723881373698, 167680707072753664, 560939942411501575, 1118683173698666557, 429522484715323393
                       Invite Code               https://discord.com/invite/7qeatFqpjm
                       Example message link      https://discord.com/channels/1040290955330326528/1062097464011800637/1112151457060368434
                       of infringing activity
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                                                                    Exhibits – Private Server Promoter


1. Infringed Work – MapleStory
    Server Name             Category                                                                 Description
                     Website (if applicable)
                     Discord Server ID         954742710659608617
                     Infringer UID             1040122600812187688
      프리웨어
                     Invite Code               https://discord.com/invite/rx4FMJFCNQ
                     Example message link      https://discord.com/channels/954742710659608617/1148248400354103306/1148248457388236801
                     of infringing activity
                     Website (if applicable)
                     Discord Server ID         1087023612395016353
                     Infringer UID             848606213831000074
     서버공유방
                     Invite Code               https://discord.com/invite/PyCYWZJ64M
                     Example message link      https://discord.com/channels/1087023612395016353/1123481226293035059
                     of infringing activity
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                                                         Exhibits – Designers associated with Private Servers


1. Infringed Work – MapleStory
    Server Name             Category                                                                Description
                     Website (if applicable)
                     Discord Server ID         1044094096127561819
                     Infringer UID             742785576679374941, 416095865074352129
      이클립스
                     Invite Code               n/a
                     Example message link      https://discord.com/channels/1044094096127561819/1044131700634030100/1086865698724249672
                     of infringing activity
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                                                                    Exhibits – Private Server Promoter


1. Infringed Work – MapleStory
    Server Name             Category                                                                 Description
                     Website (if applicable)
                     Discord Server ID         954742710659608617
                     Infringer UID             1040122600812187688
      프리웨어
                     Invite Code               https://discord.com/invite/rx4FMJFCNQ
                     Example message link      https://discord.com/channels/954742710659608617/1148248400354103306/1148248457388236801
                     of infringing activity
                     Website (if applicable)
                     Discord Server ID         1087023612395016353
                     Infringer UID             848606213831000074
     서버공유방
                     Invite Code               https://discord.com/invite/PyCYWZJ64M
                     Example message link      https://discord.com/channels/1087023612395016353/1123481226293035059
                     of infringing activity
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                                                                      Exhibits – Cheat Software Seller


1. Infringed Work – MapleStory
    Server Name             Category                                                                     Description
                     Website (if applicable)   https://www.maplespirit.net/
                     Discord Server ID         994541014490550292
                     Infringer UID             305387689660907530, 206881044916469760, 125118828123258880
     MapleSpirits
                     Invite Code               https://discord.com/invite/XNBAkbgw8z
                     Example message link      https://discord.com/channels/994541014490550292/994554558313398302/1126546196878589974
                     of infringing activity    https://discord.com/channels/994541014490550292/1049317508961804288/1049317968661725244


2. Infringed Work – Sudden Attack
    Server Name             Category                                                                     Description
                     Website (if applicable)
                     Discord Server ID         1111257063524413474
                     Infringer UID             1111223462569201724, 961877053068689459, 1020587264276971530
        스완
                     Invite Code               https://discord.com/invite/pAB8BykUCN
                     Example message link      https://discord.com/channels/1111257063524413474/1144409110889119784/1147346169257795615
                     of infringing activity    https://discord.com/channels/1111257063524413474/1111257064652685371/1132533876556832830
                     Website (if applicable)
                     Discord Server ID         902200384607641601
                     Infringer UID             789726809632669726
      스노우몰
                     Invite Code               https://discord.gg/sURfYC4v3A
                     Example message link      https://discord.com/channels/902200384607641601/1093517368682086470/1133077261810155520
                     of infringing activity    https://discord.com/channels/902200384607641601/1030657341835706388/1074704630061211749
